            Case 1:25-cv-10695-DJC        Document 3        Filed 03/25/25     Page 1 of 3




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                          )
RUMEYSA OZTURK,                           )
                                          )
              Petitioner,                 )
                                          )
              v.                          )
                                          )
                                                         Civil Action No. 1:25-cv-10695- DJC
PATRICIA HYDE, Acting Director of         )
Boston Field Office, United States        )
Immigration and Customs Enforcement,      )
TODD LYONS, Acting Director United States )
Immigration and Customs Enforcement, and )
KRISTI NOEM, Secretary of Homeland        )
Security,                                 )
                                          )
              Respondents.                )


                       SERVICE ORDER AND ORDER CONCERNING
                          DETERMINATION OF JURISDICTION

Talwani, D.J.

        Petitioner Rumeysa Ozturk, a Turkish national detained by DHS on March 25, 2025, has

filed a petition for a writ of habeas corpus. S h e names Patricia Hyde, Acting Director of

Boston Field Office, United States Immigration and Customs Enforcement; Todd Lyons,

Acting Director, U.S. Immigration and Customs Enforcement, and Kristi Noem, Secretary of

the United States Department of Homeland Security, as respondents.

        Upon review of the petition, the Court hereby ORDERS as follows:

        1.       The clerk of this court shall serve a copy of the petition upon respondents and the

United States Attorney for the District of Massachusetts.

        2.       Respondents shall, no later than March 28, 2025, answer or respond to the

petition.

        3.       Although a United States District Court does not generally have subject-matter

jurisdiction to review orders of removal, see 8 U.S.C. § 1252(a)(1), (g), it does generally have
          Case 1:25-cv-10695-DJC          Document 3        Filed 03/25/25       Page 2 of 3




jurisdiction over habeas petitions. See 28 U.S.C. § 2241(a). Furthermore, a federal court

“always has jurisdiction to determine its own jurisdiction,” including its own subject-matter

jurisdiction. Brownback v. King, 592 U.S. 209, 218-19 (2021) (quoting United States v. Ruiz,

536 U.S. 622, 628 (2002)). In order to give the court an opportunity to consider whether it has

subject-matter jurisdiction, and if so to determine the validity of the habeas petition, the court

may order respondent to preserve the status quo. See United States v. United Mine Workers of

Am., 330 U.S. 258, 293 (1947) (“[T]he District Court ha[s] the power to preserve existing

conditions while it [is] determining its own authority to grant injunctive relief,” unless the

assertion of jurisdiction is frivolous.). Such an order is valid unless and until it is overturned,

even when the issuing court lacks subject-matter jurisdiction to determine the merits of the

underlying action. See id. at 294-95 (upholding criminal contempt convictions for violations of a

preliminary injunction, assuming the District Court had no jurisdiction to decide the underlying

matter). This principle applies with even greater force where the action the court enjoins would

otherwise destroy its jurisdiction or moot the case. See United States v. Shipp, 203 U.S. 563, 573

(1906).

          4.   Accordingly, and unless otherwise ordered by the Court, petitioner shall not be

moved outside the District of Massachusetts without first providing advance notice of the

intended move. Such notice shall be filed in writing on the docket in this proceeding, and shall

state the reason why the government believes that such a movement is necessary and should not

be stayed pending further court proceedings. Once that notice has been docketed, the petitioner

shall not be moved out of the District for a period of at least 48 hours from the time of that

docketing. If the 48-hour notice period “would end on a Saturday, Sunday, or legal holiday, the

period continues to run until the same time on the next day that is not a Saturday, Sunday, or



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        Case 1:25-cv-10695-DJC          Document 3      Filed 03/25/25      Page 3 of 3




legal holiday.” Fed. R. Civ. P. 6(a)(2)(C). The time period may be shortened or extended as

may be appropriate by further order of the Court.

So Ordered.


                                                    /s/ Indira Talwani
                                                    District Judge
                                                    United States District Court
Dated: March 25, 2025




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